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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Civil Action No. 22-cv-00581-CNS-NRN

COLORADO MONTANA WYOMING STATE AREA CONFERENCE OF THE NAACP,
LEAGUE OF WOMEN VOTERS OF COLORADO,
MI FAMILIA VOTA,

       Plaintiffs,

v.

SHAWN SMITH,
ASHLEY EPP,
HOLLY KASUN,

       Defendants.



                                  FINAL JUDGMENT


       In accordance with the orders filed during the pendency of this case, and

pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

       This action was tried before United States District Judge Charlotte N. Sweeney

and the Court rendered its findings of fact, conclusions of law, and granted the Oral

Motion for Judgment on Partial Findings under Fed. R. Civ. P. 52(c) on July 18, 2024, in

open court [Minute Entry at ECF No. 184]. It is

       ORDERED that judgment is entered in favor of the defendants, Shawn Smith,

Ashley Epp and Holly Kasun, and against the plaintiffs, Colorado Montana Wyoming

State Area Conference of the NAACP, League of Women Voters of Colorado, and Mi

Familia Vota. It is
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      FURTHER ORDERED that as the prevailing party the defendants are awarded

costs to be taxed by the Clerk of the Court pursuant to Fed. R. Civ. P. 54(d)(1) and

D.C.COLO.LCivR 54.1. It is

      FURTHER ORDERED that the case is closed.




         Dated at Denver, Colorado this 18th day of July, 2024.




                                                FOR THE COURT:
                                                JEFFREY P. COLWELL, CLERK

                                             By: s/ J Dynes
                                                      J DYNES
                                                      Deputy Clerk
